Case 3:16-mc-80263-RS Document 53-1 Filed 05/19/17 Page 1 of 4




 EXHIBIT A
            Case 3:16-mc-80263-RS Document 53-1 Filed 05/19/17 Page 2 of 4




 1 BRIAN J. STRETCH (CABN 163973)
   United States Attorney
 2
   BARBARA VALLIERE (DCBN 439353)
 3 Chief, Criminal Division

 4 WILLIAM FRENTZEN (LABN 24421)
   MERRY JEAN CHAN (CABN 229254)
 5 Assistant United States Attorneys

 6         450 Golden Gate Avenue, Box 36055
           San Francisco, California 94102-3495
 7         Telephone: (415) 436-6959
           Fax: (415) 436-7234
 8         William.Frentzen@usdoj.gov; merry.chan@usdoj.gov

 9 ANDREW S. PAK (NYBN 4463436)
   CATHERINE ALDEN PELKER (MD)
10 Trial Attorneys

11         Department of Justice
           Computer Crime & Intellectual Property Section
12         1301 New York Avenue, N.W., Suite 600
           Washington, D.C. 20005
13         Andrew.Pak@usdoj.gov; Catherine.Pelker@usdoj.gov

14 Attorneys for United States of America

15                                UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA

17                                    SAN FRANCISCO DIVISION

18
                                               )   Case No. CR 16-mc-80263 LB/RS
19   IN THE MATTER OF THE SEARCH OF            )
     CONTENT STORED AT PREMISES                )
20   CONTROLLED BY GOOGLE, INC., AND           )   DECLARATION OF HSI SPECIAL AGENT
     FURTHER DESCRIBED IN ATTACHMENT           )   MICHAEL DELANEY IN SUPPORT OF UNITED
21   A                                         )   STATES’ RESPONSE TO GOOGLE
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     DECLARATION OF SA DELANEY
             Case 3:16-mc-80263-RS Document 53-1 Filed 05/19/17 Page 3 of 4




 1 I, Michael Delaney, hereby swear and affirm under penalty of perjury as follows:

 2      1. I am a Special Agent with Homeland Security Investigations (hereinafter "HSI"), U.S.

 3         Department of Homeland Security.

 4      2. In my capacity as a Special Agent, I am assigned to the instant investigation that involves

 5         investigation of significant criminal conduct.

 6      3. In connection with the litigation regarding the scope of the search warrant to Google, I

 7         previously provided a Declaration regarding my review of Google’s productions through

 8         November of 2016.

 9      4. In connection with Google’s letter of production in September of 2016, Google stated that it

10         conducted a “diligent search” to “identify responsive records stored on Google’s U.S. servers. In

11         essence, Google certified it produced all Gmail, Drive, YouTube, and Calendar content stored in

12         the U.S., and only that content it did not produce was stored outside the U.S.”

13      5. Despite Google’s claims in its letter, on May 3, 2017, Google sent a letter and an additional

14         production of data pursuant to the search warrant I served on July 6, 2016.

15      6. According to Google’s May letter, the production in May of 2017 consisted of data that was

16         determined to be located in the United States. Therefore, the data was not produced in response

17         to the Order issued by Magistrate Judge Beeler on April 24, 2017. It was data that Google

18         should have produced in response to the original search warrant, even given Google’s view of

19         the reach of a search warrant under the Stored Communications Act.

20      7. According to an email sent by counsel for Google in May of 2017, the delay in the latest

21         production was due to Google’s retooling to determine the location of data.

22      8. I have conducted a preliminary review of the data produced by Google in conjunction with my

23         fellow investigators – other federal agents. I make this Declaration in partial reliance on

24         information from those other investigators.

25      9. The May 2017 production is approximately 28 GB of data. That production is approximately ten

26         times larger than the previous productions by Google. There is appreciably more data in the

27         May production than in the prior productions. The May production includes attachments that

28         Google did not previously provide. It includes other types of data that Google did not previously

     DECLARATION OF SA DELANEY
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              Case 3:16-mc-80263-RS Document 53-1 Filed 05/19/17 Page 4 of 4




             provide. It includes entire accounts that Google did not previously provide, and that Google
 2           expressly stated were entirely stored outside of the United States.

 3        10. We continue to analyze the production in May of 2017, but it is already clear to me and to my

 4           colleagues that the latest production includes data that is very material to the government's

 5           investigation. The delay in the production of this data has undoubtedly delayed and impaired the

 6           progress of the government's investigation. I could provide additional detail regarding the nature

 7           of the additional data and the manner by which it has delayed and impeded the investigation in a

 8           sealed and in camera setting.

 l)      11. In Google's letter of May 2017, Google indicated that it would produce additional data within

10           the next month. That production is still outstanding.

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12            Uhisjf*
      So sworn, this
                  rj_         day of May, 2017.

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15
                                                                     Special Agent Michael Delaney
16                                                                   Homeland Security Investigations
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      DECLARATION OF SA DELANEY
